                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:06cr167-5


UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )             ORDER
                                                   )
JIMMY DEAN SCOTT, JR.,                             )
                                                   )
                  Defendant.                       )
________________________________________           )


       THIS CAUSE coming on to be heard and being heard before the undersigned upon

a violation report filed in the above entitled cause on January 17, 2007 by the United States

Probation Office. In the violation report the United States Probation Office alleged that the

defendant had violated terms and conditions of his pretrial release. At the call of this matter

on for hearing it appeared that the defendant was present with his counsel, attorney Walter

E. Daniels, III, and that the Government was present through Assistant United States

Attorney, Jill Rose, and from the evidence offered and from the statements of the Assistant

United States Attorney and the attorney for the defendant, and the records in this cause, the

court makes the following findings.

       Findings: At the call of the matter, the defendant denied the allegations contained

in the violation report that had been filed on January 17, 2007. The Government introduced,

without objection, the violation report into evidence.    Testimony was then presented by the

Government through Officer Eric Simpson, United States Probation Officer, and Ramey

Hilliard, Detective with the Buncombe County Sheriff’s Office.



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       On August 7, 2006 the defendant was charged in a bill of indictment with conspiracy

to traffic in cocaine base and cocaine. On October 11, 2006 a hearing was held in regard to

the detention of the defendant. On that date, the undersigned entered an order releasing the

defendant on a $25,000.00 unsecured bond. The undersigned further set conditions of

release which included the following:

       (r)    That the defendant shall report, as soon as possible, to the Office of Probation

              and pretrial Services any contact with any law enforcement personnel,

              including, but not limited to, any arrest, questioning, or traffic stop.

       The undersigned released the defendant into the custody of his mother and father, Mr.

& Mrs. Jimmy Scott, Sr. The defendant was to reside with his mother and father in their

home located at 22 Cedar Hill Circle, Asheville, NC.

       On January 15, 2007 three black males wearing hoods over their heads and bandanas

in the form of masks came into the home owned by Mr. and Mrs. Scott. At the residence

were the defendant’s sister, Monique, a minor child who was a relative of the defendant and

the defendant’s mother. Two of the intruders took the defendant outside of the residence for

about five minutes. The other intruder threatened Mrs. Scott, the mother of the defendant,

and also threatened the minor who was the relative of the defendant by placing a gun to her

head. The intruders began looking in shoe boxes in the home owned by Mr. & Mrs. Scott

and began demanding of the defendant for the defendant to tell them “where the money was”.

The defendant was then taken into his mother’s bedroom where he was shot in the thigh by



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the intruders. An investigation was made at the scene by officers of the Buncombe County

Sheriff’s Office. Neither the defendant nor his parents made any representation to the

officers that the defendant had been charged in the United States District Court with the

crime of conspiracy to traffic in cocaine or cocaine base.

       The defendant was taken to the emergency room at Mission St. Joseph hospital in

Asheville, NC. At that time, the defendant was interviewed by Det. Ramey Hilliard of the

Buncombe County Sheriff’s Office. Det. Hilliard asked the defendant and the defendant’s

father if the defendant had been in any type of trouble and neither one of them advised Det.

Hilliard of the charges against the defendant in the United States District Court in this file.

A few days thereafter, Det. Hilliard went to the home of the defendant and again interviewed

the defendant concerning the events of January 15, 2007. At no time did either the defendant

or his father, who was present, advised Det. Hilliard of the charges contained in file

1:06cr167-5.

       On January 16, 2007, Eric Simpson, United States Probation Officer, received a

telephone call from Agent Matt Barden of the Drug Enforcement Agency. Agent Barden

indicated to Officer Simpson that he should contact Det. Hilliard concerning the injuries

sustained by the defendant. Officer Simpson contacted Det. Hilliard and was advised that

neither the defendant nor his father had made any reference whatsoever to the charges that

were pending against the defendant in the United States District Court. As a result of the

failure of the defendant and his parents to contact the United States Probation Office as they



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had been instructed to do, Officer Simpson filed the violation report that was filed in this

matter on January 17, 2007. At no time between the filing of the petition or the arrest of the

defendant which took place on January 22, 2007, which was seven days after the date of the

assault upon the defendant on January 15, 2007, did the defendant or his parents ever contact

Officer Simpson to advise him of the events or the defendant’s contact with Det. Hilliard.

       Evidence was presented by the defendant from the defendant’s mother. Mrs. Scott

testified that she told Det. Hilliard about the charges that were pending against her son in the

United States District Court but that she did not contact Officer Simpson. Mrs. Scott testified

that she assumed that Det. Hilliard would talk to Officer Simpson.

       The defendant had entered a plea of guilty, pursuant to Rule 11 of the Federal Rules

of Criminal Procedure, on December 18, 2006 to the charge contained in the bill of

indictment.

       Discussion. Based upon the evidence, there has been shown by clear and convincing

evidence that the defendant violated a condition of release in that the defendant violated the

term and condition of release that required the defendant to report as soon as possible to the

Office of Probation and Pretrial Services any contact that he had with any law enforcement

personnel, including, but not limited to, any arrest, questioning, or traffic stop. Det. Hilliard

questioned the defendant concerning the events of January 17, 2207.              Despite being

questioned by Det. Hilliard, the defendant did not report the questioning or the events of

January 17, 2007 to Officer Simpson as he was required to do. The defendant was



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specifically required by this court to inform his probation officer of this contact with the

detective.

       The undersigned has further considered the factors as set forth under 18 U.S.C. §

3142(g). The events of January 15, 2007 show that the release of the defendant would create

a danger to any person in the community. The release of the defendant would create a danger

to the defendant himself as has been clearly evidenced by the events of January 15, 2007.

Further, the release of the defendant to the custody of his parents would create a risk of

danger to both his parents and to the minor children who are residing in the defendant’s

parent’s home.

       At the time of the release of the defendant, this court read to the defendant all of the

conditions of release, including the condition requiring the defendant to report any contact

that he had with any law enforcement officer. After reading those conditions to the

defendant, the undersigned required that the defendant sign an acknowledgment that he was

aware of the conditions of release and that he promised to obey all of the conditions of

release. This defendant has clearly failed to do.

       It appears there is no condition or combination of conditions of release that would

assure that the release of the defendant would not pose a danger to the safety of any other

person or the community as set forth above. It is further the opinion of the undersigned that

based upon the defendant’s actions that it is unlikely that the defendant will abide by any

condition or combination of conditions of release. As a result of the above referenced

findings, the undersigned has determined to enter an order of revocation revoking the



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unsecured bond and the terms of pretrial release previously issued in this matter and entering

an order detaining the defendant.

                                          ORDER

       WHEREFORE, IT IS ORDERED that the unsecured bond and the terms and

conditions of pretrial release entered in this matter are hereby REVOKED and it is

ORDERED that the defendant be detained pending sentencing and further proceedings in

this matter.

                                              Signed: January 31, 2007




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